        United States Court of Appeals
             for the Fifth Circuit                           United States Court of Appeals
                                                                      Fifth Circuit

                            ___________                             FILED
                                                                 June 7, 2024
                             No. 23-50224                      Lyle W. Cayce
                            ___________                             Clerk

Leila Green Little; Jeanne Puryear; Kathy Kennedy;
Rebecca Jones; Richard Day; Cynthia Waring; Diane
Moster,

                                                    Plaintiffs—Appellees,

                                 versus

Llano County; Ron Cunningham, in his official capacity as Llano
County Judge; Jerry Don Moss, in his official capacity as Llano County
Commissioner; Peter Jones, in his official capacity as Llano County
Commissioner; Mike Sandoval, in his official capacity as Llano County
Commissioner; Linda Raschke, in her official capacity as Llano County
Commissioner; Amber Milum, in her official capacity as Llano County
Library System Director; Bonnie Wallace, in her official capacity as
Llano County Library Board Member; Rochelle Wells, in her official
capacity as Llano County Library Board Member; Rhoda Schneider, in
her official capacity as Llano County Library Board Member; Gay Baskin,
in her official capacity as Llano County Library Board Member,

                                      Defendants—Appellants.
              ______________________________

              Appeal from the United States District Court
                   for the Western District of Texas
                        USDC No. 1:22-CV-424
              ______________________________
Case: 23-50224    Document: 169        Page: 2   Date Filed: 06/07/2024

                             No. 23-50224




ORDER:
    A judge of this Court withholds issuance of the mandate in this appeal.



                          LYLE W. CAYCE, CLERK
                          United States Court of Appeals
                               for the Fifth Circuit
                               /s/ Lyle W. Cayce

           ENTERED AT THE DIRECTION OF THE COURT




                                   2
